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12                              UNITED STATES DISTRICT COURT

                               NORTHERN DISTRICT OF CALIFORNIA
13

14   COURTNEY SILVERMAN, individually                ) Case No: 5:18-cv-05919-BLF
     and on behalf of all others similarly situated, )
                                                     )
15                                                   )
                    Plaintiff,                       )
16                                                   ) JOINT STIPULATION OF DISMISSAL
            vs.                                      ) WITH PREJUDICE
                                                     )
17   MOVE, INC., a California Corporation, and )
     NATIONAL ASSOCIATION OF                         )
     REALTORS, an Illinois Corporation,              )
18   Defendants.                                     )
                                                     )
19                                                   )
                    Defendants.                      )
                                                     )
20                                                   )

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                                                           Case No.: 5:18-cv-05919-BLF
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             COME NOW Plaintiff Courtney Silverman and Defendants Move, Inc., and National
 1
     Association of Realtors, by and through their undersigned counsel, pursuant to Fed. R. Civ. P.
 2
     41(a)(1)(A)(ii), hereby jointly stipulate that this action is dismissed, with prejudice, with the parties
 3
     to bear their own attorney's fees, costs and expenses.
 4
             Respectfully submitted this 2nd day of March, 2020.

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